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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW J`ERSEY

 

MARILYN HUERTERO, lndividually
and MARILYN HUETERO as G/A/L
for J()NATHAN ARRIAGA (infant),

C_IVIL ACTION
NO: 13-3739 (MAS)(LHG)
Judge l\/[ichael A. Shipp

Plaintiffs,
vs.

UNITED sTATEs OF AMERICA; Us REQ §§ E§/§",’°"‘
DEPARTMENT OF HEALTH & 5 w ‘“
HUMAN SERVICES and JOHN and ' NAY 2b 7 2014
JANE DOES #l-l() (1'ep1'esenting AT 830
presently unidentified physicians, nurses, z W;LL`/AM'~?-~..i__`_“__nm w
technicians, radiologists, assistants, etc.) ‘ W/LU.SH, tu_:d

Defendants.
NOTICE OF APPEAL
Notice Of hereby given that l\/larilyn Huertero, Individually and l\/larilyn Huetero as G/A/L
for Jonathan An'iaga (infant), plaintiffs in the above-named case, hereby appeal to the United
States Coui't of Appeals for the Third Circuit from the April 30, 2014 Order (Docket No. 13-

3 73 9) dismissing plaintiffs' Complaint.

Res ec ly bmitted,

 

JAM'ES .MARTIN
Counsel f rPlaintiffs

Dated: §Z?Z;f'l

